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                              Exhibit A
                                   Transfers


               Steven Goldstein
               1/4/2018                          $       1,666.66
               1/22/2018                         $      50,833.33
               2/1/2018                          $         833.33
               2/26/2018                         $       1,666.66
               3/1/2018                          $         833.33
               3/8/2018                          $       1,500.00
               3/12/2018                         $      47,245.00
               3/12/2018                         $       5,000.00
               3/12/2018                         $         416.67
               3/13/2018                         $      41,499.00
               3/13/2018                         $       1,000.00
               3/22/2018                         $         833.33
               4/2/2018                          $         833.33
               4/2/2018                          $         416.67
               4/5/2018                          $       4,500.00
               4/23/2018                         $      50,833.33
               4/23/2018                         $         833.33
               5/1/2018                          $       1,666.66
               5/1/2018                          $         416.67
               5/11/2018                         $       2,500.00
               5/11/2018                         $       2,000.00
               5/23/2018                         $       2,500.00
               5/25/2018                         $       3,500.00
               5/29/2018                         $       6,000.00
               5/30/2018                         $      50,000.00
               5/30/2018                         $      36,250.00
               5/30/2018                         $       1,000.00
               5/31/2018                         $       1,408.12
               6/1/2018                          $       2,000.00
               6/1/2018                          $       1,000.00
               6/1/2018                          $       2,499.99
               6/1/2018                          $         416.67
               6/4/2018                          $       3,500.00
               6/5/2018                          $      78,000.00
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               6/25/2018                        $      50,833.33
               7/2/2018                         $       2,499.99
               7/2/2018                         $         416.67
               8/2/2018                         $       3,333.32
               8/2/2018                         $         416.67
               8/6/2018                         $       2,000.00
               8/7/2018                         $       2,500.00
               8/7/2018                         $       1,220.00
               8/10/2018                        $       7,500.00
               8/10/2018                        $       2,551.00
               8/10/2018                        $       1,800.00
               8/13/2018                        $          87.50
               8/16/2018                        $       2,457.00
               8/17/2018                        $      12,045.00
               8/31/2018                        $      50,833.33
               8/31/2018                        $       2,499.99
               8/31/2018                        $         416.67
               9/4/2018                         $      21,114.75
               10/1/2018                        $       2,499.99
               10/1/2018                        $         416.67
               11/2/2018                        $       2,499.99
               11/2/2018                        $         416.67
               12/3/2018                        $       2,499.99
               12/3/2018                        $         416.67
               1/3/2019                         $       2,499.99
               1/31/2019                        $       1,950.00
               2/4/2019                         $      50,833.33
               2/4/2019                         $      25,416.67
               2/4/2019                         $       2,499.99
               2/19/2019                        $         416.66
               3/4/2019                         $       2,499.99
               4/1/2019                         $       2,499.99
               4/15/2019                        $         416.66
               5/2/2019                         $         833.33
               5/14/2019                        $      50,833.33
               6/3/2019                         $       2,499.99
               6/20/2019                        $         416.66
               7/2/2019                         $       2,499.99
               7/3/2019                         $      50,833.33
               7/16/2019                        $         416.66
               8/1/2019                         $       3,333.32
               8/16/2019                        $         416.66
               9/3/2019                         $       2,499.99
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               9/5/2019                          $      50,833.33
               9/16/2019                         $         833.33
               9/16/2019                         $         416.66
               9/16/2019                         $         333.33
               10/1/2019                         $       2,499.99
               10/15/2019                        $         416.66
               10/16/2019                        $         833.33
               10/16/2019                        $         333.33
               11/1/2019                         $       1,666.66
               Steven Goldstein Total            $     840,460.44
